Case 1:12-cr-00003-AJT Document 175-1 Filed 07/03/13 Page 1 of 2 PageID# 2403




From: Ira P. Rothken [mailto:ira@techfirm.net]
Sent: Thursday, March 01, 2012 6:16 PM
To: b.van.dorsser@vestius.com
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MKuhn@ReedSmith.com; vankampen@fzbk.nl; blokhuis@boekx.com;
emcnicholas@sidley.com
Subject: Re: LeaseWeb/MegaUpload: confidential - attorney to attorney privileged
communication

Bram,

We respectfully need your help.

We are frustrated at the slow and cryptic level of communications regarding Megaupload and
Leaseweb. We are not getting responses to our simple requests including providing us with
whatever legacy questions you may have had from some February 3rd communications we have
not received. We do have a subsequent fax dated February 13th which incorporates by reference
the fax we don't have. This is complicated by the notion that Leaseweb appears to have
competent US counsel at Reed Smith who, for reasons unknown to us, you have not allowed us
to have a five minute call with to clarify issues, request a copy of the missing fax, and catalyze
win win solutions.

We request again that Leaseweb confirm that it will preserve the Megaupload data- this request
is supported by multiple axiomatic reasons including that it is relevant evidence in a pending
criminal case in the US, potential civil case(s), and destruction of such data will interfere with
the possible return of such data to consumers (if and when such logistics can be worked out with
the appropriate government entities). Indeed, under such circumstances Leaseweb ought to
preserve such data, at a minimum, under a litigation hold and because it is the right thing for a
corporate citizen to do under the circumstances. In any event Mega is interested in negotiating a
commercial solution with Leaseweb including buying the actual servers the Mega data resides on
subject to appropriate Government approvals.

Megaupload is of the view that the alleged copyright and other claims being made against it are
without merit and will vigorously defend such action(s). Megaupload reserves all of its rights
regarding Leaseweb and Mega's data under their agreement and other applicable law and nothing
related to these communications or a failure to address any issues shall be construed as a waiver
of Mega's rights.

Can you please help us? To the extent we have overlooked any communications we apologize in
advance.

Please confirm Leaseweb's preservation of Mega's data and have your US counsel contact us to
set up a conference call for all those from your perspective who need to be on the call. We
appreciate it.

Thanks,
Case 1:12-cr-00003-AJT Document 175-1 Filed 07/03/13 Page 2 of 2 PageID# 2404




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